          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:08CR112



UNITED STATES OF AMERICA                     )
                                             )
                                             )
            vs.                              )             ORDER
                                             )
                                             )
HARRY LEE CARPER                             )
MICHAEL JAMES HANNIGAN                       )
JOSEPH ROBERT LAIRD                          )
ROSE MARIE SCHILLLING, a/k/a                 )
    Rose Marie Baroody                       )
                                             )


      THIS MATTER is before the Court sua sponte for recusal and

reassignment.

      IT IS, THEREFORE, ORDERED that the undersigned be recused

from this matter, and the Clerk of Court is directed to reassign this case to

another judge within this District.
                                         Signed: October 15, 2008




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